AO 442 1U/LE (Rev. E14) Arrest Warvant - FID#: I 05 S7 176

 

 

RECEIVED
UNITED STATES DISTRICT COURTUNITE? STATES MARSHAL
for the 2:42 pm, May 04 2021
Western District of North Carolina wesreRN NORTH CAROLINA
CHARLOTTE
United States of America )
V. ) Case No. 0419 3:18CRO00145- 001
)
) FILED
Joseph Gerell Banks ) CHARLOTTE, NC
Defendant )
MAY 12 2021
ARREST WARRANT
US DISTRICT COURT
To: Any authorized law enforcement officer WESTERN DISTRICT OF NC

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary
delay

(name of person to be arrested) Joseph Gerell Banks ,

who is accused of an offense or violation based on the following document filed with the court:

Ci Indictment CI Superseding Indictment (J Information C] Superseding Information CJ) Complaint

Cj Probation Violation Petition Supervised Release Violation Petition LJ Violation Notice CJ Order of the Court

This offense is briefly described as follows: See Petition for Warrant.

Signed: May 4, 2021

 

 

 

 

 

City and state: Charlotte, NC
avec Cc. Keesley
United States Magistrate Judge
Return . . mM ey
This warrant was received on (date) , and the person was arrested on (date) 5-6 “al

at (city and state) C Aa¥ lott. ; NC

Date: GS-72! CL. Lope La

Arresting officer's ‘slenatur e

Ch Oe lon rowen — Dus

Printed name and title

 

 

 

Case: S18 DOLE MOC DK. Ree 25 fl NOWD Dats Buns eapzsahp}, Rage 7 of 7
